
Turley, J.
delivered the opinion of the court.
On the 16th day of January, 1839, David Boyd executed his promissory note for $55 64, due three days after date, to Hamilton Bussey. This note Hamilton Bussey, on the 11th day of May, 1839, endorsed to Andrew Brown, and guarantied the payment. Brown sued Bussey upon the guaranty and obtained a verdict against him, upon which the judgment was arrested by the Circuit Judge, and a writ of error is therefor prosecuted to this court.
The question presented for our consideration, is whether an action of debt will lie upon this guaranty, and we are clear that it will.
We have held at the present term of this court, in the case of Hall vs. Rogers, that such a guaranty is not a collateral undertaking to pay the debt of another, but a direct and immediate contract between the guarantor and guarantee, which need not be in writing, but may be established by parol proof. It follows as a corollary from this decision, that debt will lie upon this guaranty, it being a contract of liability, direct and immediate, for the payment of a specific sum in numero, as the sum of $55 64, the amount of the note. ^
Judgment reversed and given for the plaintiff upon the verdict for principal, and interest, and cost.
